     Case 1:19-cv-00107-SPW-TJC Document 68 Filed 11/16/21 Page 1 of 1



                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MONTANA
                             BILLINGS DIVISION


EXXON MOBIL CORPORATION,                        CV 19-107-BLG-SPW-TJC

          Plaintiff/Crossclaim Defendant,
                                                 ORDER
    vs.

AECOM ENERGY &
CONSTRUCTION, INC.,

          Defendant/Crossclaim Plaintiff.

      Defendant/Crossclaim Plaintiff AECOM Energy & Construction, Inc.

(“AECI”) has moved to allow its local counsel, Eric Edward Nord, to appear at

out-of-state depositions via video. (Doc. 67.) Opposing counsel was contacted

and does not oppose AECI’s motion. Good cause appearing,

      IT IS HEREBY ORDERED that AECI’s motion to allow its local counsel,

Eric Edward Nord, to appear at out-of-state depositions via video is GRANTED

regardless of whether other counsel appear in person.

      DATED this 16th day of November, 2021.

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                                       TIMOTHY J. CAVAN
                                       United States Magistrate Judge




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